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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. __________________

  FANNY TATIANA VERA,

         Plaintiff,
  v.

  CAMDEN DEVELOPMENT, INC.,

        Defendant.
  __________________________________ /


                            DEFENDANT’S NOTICE OF REMOVAL

         Defendant Camden Development, Inc. (“Camden” or “Defendant”) hereby removes this

  action pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 to the United States District Court for the

  Southern District of Florida, and as grounds therefor states:

  I.     State Court Action

         On or about May 17, 2021, Plaintiff Fanny Tatiana Vera (“Vera” or “Plaintiff”) filed a

  civil action against Portofino Place, Ltd. d/b/a Camden Portofino in the Circuit Court of the

  Seventeenth Judicial Circuit, in and for Broward County, Florida, Docket No. CACE-21-009877.

  Portofino Place, Ltd. was served with initial process on May 19, 2021. Before Portofino Place,

  Ltd. responded to the Complaint, on June 6, 2021, Plaintiff filed her Amended Complaint

  substituting Camden Development, Inc. for Portofino Place, Ltd as defendant in this lawsuit.

  Thus, currently, the only parties to this action are Plaintiff Fanny Tatiana Vera and Defendant

  Camden Development, Inc. Copies of all summons, pleadings, and orders filed are attached as

  Exhibit A, as required under 28 U.S.C. § 1446(a).

         The Amended Complaint alleges that Plaintiff was discharged from her employment with

  Camden because of her disability and failed to accommodate her disability in violation of the
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  Florida Civil Rights Act of 1992 (“FCRA”), Fla. Stat. §§ 760.02 et seq. See Am. Compl. ¶¶ 17-

  20, and 25.

  II.     Basis for Federal Jurisdiction

          Under 28 U.S.C. § 1441(a), “any civil action brought in a State court of which the district

  courts of the United States have original jurisdiction, may be removed by the defendant . . . to the

  district court of the United States for the district and division embracing the place where such

  action is pending.”

          This Court has proper subject matter jurisdiction over this action pursuant to 28 U.S.C. §

  1332(a) because this is an action in which the matter in controversy exceeds $75,000.00,

  exclusive of interest and costs, and is between citizens of different states. Specifically, the facts

  supporting diversity jurisdiction are as follows.

  III.    Diversity of Citizenship

          (a)     Complete Diversity

          Vera resides in Broward County, Florida. See Am. Compl. ¶ 4. Thus, for diversity

  purposes, Plaintiff is a citizen of Florida.

          The only Defendant in this case is Camden Development, Inc. Camden Development,

  Inc. was at the time of the filing of Plaintiff’s Amended Complaint, and still is, a corporation

  organized and incorporated under the laws of Delaware with its principal place of business in

  Houston, Texas. See Declaration of Jennifer Killen ¶ 6 (hereafter “Killen Decl.”) (Exhibit B).

  Thus, for diversity purposes, Camden Development, Inc. is a citizen of Delaware and Texas. See

  28 U.S.C. § 1332(c)(1).

          Thus, there is complete diversity of citizenship between the parties.

          (b)     The Amount in Controversy Exceeds $75,000



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          Vera’s Amended Complaint seeks an unspecified amount of damages for “all damages

  recoverable under the Florida Civil Rights Act,” including “punitive damages,” “costs,”

  “attorney fees,” “and any other lawful relief this Court deems to be just and proper.” See Am.

  Compl. ¶¶ 20, and 27.

          If an amount for damages has not been explicitly pled, the removing party must prove

  merely “by a preponderance of the evidence that the amount in controversy exceeds the

  jurisdictional requirement.” Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 752 (11th Cir.

  1996) (emphasis added); see also 28 U.S.C. § 1446(c)(2)(B) (“removal of the action is proper on

  the basis of an amount in controversy asserted under subparagraph (A) if the district court finds

  by the preponderance of the evidence, that the amount in controversy exceeds the amount

  specified in section 1332(a).”). As such, the issue is whether – more likely than not – the amount

  in controversy exceeds $75,000.

          The Eleventh Circuit has held that this “lower burden of proof is warranted because there

  is simply no estimate of damages to which a court may defer.” Tapscott v. MS Dealer Service

  Corp., 77 F.3d 1353, 1357 (11th Cir. 1997). Importantly, “[t]he point is that a removing

  defendant is not required to prove the amount in controversy beyond all doubt or to banish all

  uncertainty about it.” Pretka, 608 F.3d at 754; see also South Florida Wellness, Inc. v. Allstate

  Ins. Co., 745 F.3d 1312, 1315 (11th Cir. 2014) (explaining that the key is not “how much the

  plaintiffs are ultimately likely to recover,” but “how much will be put at issue during the

  litigation”).   Here, for the reasons stated below, it cannot be disputed that the amount of

  controversy is more than $75,000.




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         First and foremost, the amount of Plaintiff’s back pay1 alone satisfies the jurisdictional

  requirement. Specifically, the amount of back pay at issue can be determined by evaluating

  Plaintiff’s salary on the date of her discharge. See, e.g., Kok v. Kadant Black Clawson, Inc., 274

  Fed. App’x 856, 857 (11th Cir. 2008) (holding that a W-2 and affidavit was sufficient to

  calculate back pay from the date of Plaintiff’s termination up to trial).

         Plaintiff was discharged on August 11, 2020. See Killen Decl. ¶ 4. At the time of her

  discharge, Plaintiff earned an annual salary of $96,516.62. See id. ¶ 5; see also Plaintiff’s Pay

  Summary (Exhibit C). This number represented Plaintiff’s base salary and all bonuses and

  commissions to which she was entitled. Id. Thus, her lost wages to date amount to $81,667.91

  [$96,516.62 annually / 52 weeks x 44 weeks from termination through the present]. This

  amount, alone, satisfies the jurisdictional requirement. Accordingly, the amount in controversy

  requirement under 28 U.S.C. § 1332(a) is therefore satisfied on the sole basis of back pay to date.

  See Williams v. Best Buy Co., 269 F.3d 1316, 1319-20 (11th Cir. 2001) (court may consider

  removal notice and post-filing evidence in determining amount in controversy).

         Furthermore, if one were to conservatively assume that this case will proceed to trial in as

  little as 10 months from the date of removal, Plaintiff’s lost wages through trial will increase by

  additional $81,667.91 [$96,516.62 annually / 52 weeks x 44 weeks from today through trial in

  April 2022]. As a result, the total amount of back pay at trial will be $163,335.82.

         By seeking all damages recoverable under the FCRA, Plaintiff also seeks unspecified

  amount in front pay. Front pay is a form of equitable relief awarded to a FCRA plaintiff in lieu

  of, or until, reinstatement. Brown v. Am. Express Co., No. 09-CIV-61758, 2010 WL 527756, at



  1 A successful Plaintiff is entitled to back pay under the Florida Civil Rights Act. See Brown v.
  American Exp. Co., Inc., No. 09-61758-CIV, 2010 WL 527756, at *3 (S.D. Fla. Feb. 10, 2010).


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  *5 (S.D. Fla. Feb. 10, 2010). For amount in controversy purposes, such equitable relief is

  calculated as “the monetary value of the object of the litigation that would flow to the plaintiff”

  if the requested relief is granted. Leonard v. Enterprise Rent a Car, 279 F.3d 967, 973 (11th Cir.

  2002).

           In the event that the Plaintiff can show that reinstatement is not feasible and this Court

  considers the issue of front pay, an award of one or two years of front pay is not uncommon in

  employment discrimination cases. See Munoz v. Oceanside Resorts, Inc., 223 F.3d 1340, 1349

  (11th Cir. 2000) (affirming front pay award of one year in an employment discrimination case

  under ADEA and FCRA); Brown v. Cunningham Lindsey U.S., Inc., No. 305CV141J32HTS,

  2005 WL 1126670, at *5 (M.D. Fla. May 11, 2005) (assuming one year of front pay when

  determining amount in controversy in an employment discrimination/retaliation lawsuit under

  the FCRA); see also Whittlesey v. Union Carbide Corp., 742 F.2d 724 (2d Cir. 1984) (affirming

  award of 4 years front pay in an ADEA case).

           In this case, if Plaintiff was to prevail at trial, her front pay will be $96,516.62 which

  represents the value of her annual compensation.

           In addition to back and front pay, Plaintiff also seeks money damages for punitive

  damages. Punitive damages must be considered when determining the jurisdictional amount in

  controversy in diversity cases. Holley Equip. Co. v. Credit Alliance Corp., 821 F.2d 1531, 1535

  (11th Cir. 1987).     Moreover, a claim of punitive damages in excess of the jurisdictional

  minimum is sufficient to confer jurisdiction, unless it is apparent to a legal certainty that punitive

  damages in the amount to confer jurisdiction could not be recovered. Wood v. Citronelle-Mobile

  Gathering Sys. Co., 409 F.2d 367, 369 (5th Cir. 1969); see also Ryan v. State Farm Mut. Auto.

  Ins. Co., 934 F.2d 276, 277 (11th Cir. 1991) (amount in controversy requirement for federal



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  jurisdiction may be satisfied by demand for punitive damages if it is possible under state law for

  jury to award jurisdictional amount). Here, Plaintiff is claiming entitlement to punitive damages,

  but has not articulated an amount in her Amended Complaint. Notably, punitive damages are

  available to Plaintiff under the FCRA in an amount up to $100,000.00 – an amount, standing

  alone, that exceeds the jurisdictional minimum. See Fla. Stat. § 760.11(5). At this stage of the

  case, there is no legal certainty that he will be unable to recover those damages, and the

  jurisdictional minimum is therefore satisfied.

         In addition, Plaintiff can also recover compensatory damages under the FCRA.

  Compensatory damages under the FCRA are uncapped and unlimited. See Fla. Stat. § 760.11(5).

  There is also no legal certainty at this time that Plaintiff will be unable to recover such damages.

  See, e.g., Munoz, 223 F.3d at 1348 (affirming $150,000 compensatory damages jury award in an

  employment discrimination FCRA case); Hill v. Xerox Corp., 998 F. Supp. 1378, 1384 (N.D.

  Fla. 1998) (upholding a jury award of $457,000 for emotional distress for violation of the

  FCRA).

         In addition to the foregoing, the amount in controversy also includes Plaintiff’s attorney

  fees when a statutory cause of action entitles a party to them. See, e.g., Field v. Nat’l Life Ins.

  Co., No. 8:00CV-989-T-24TBM, 2001 WL 77101, at *4 (M.D. Fla. Jan. 22, 2001). Attorney’s

  fees are authorized by the FCRA, and may therefore be claimed in this case. See Fla. Stat. §

  760.11(5). Accordingly, Plaintiff’s potential attorney’s fees must be included in estimating the

  amount in controversy.

         Courts have found that reasonable hourly rates in Southern Florida for attorneys handling

  FCRA cases can range anywhere from $175 to $350 per hour. See, e.g., Holland v. Gee, No.

  8:08-CV-2458-T-33AEP, 2012 WL 5845010, at *5 (M.D. Fla. Oct. 23, 2012) (awarding plaintiff



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  $175 and $350 per hour for attorney fees depending on experience level of counsel). As such,

  attorney fees in employment cases often alone exceed the jurisdictional threshold of $75,000.

  See, e.g., Mock v. Bell Helicopter Textron, Inc., No. 6:04-CV-1415, 2010 WL 5066121 (M.D.

  Fla. Sept. 3, 2010) (awarding plaintiff $342,207.81 in attorney fees in age discrimination case);

  EEOC v. Enterprise Leasing Co., Inc., No. 8:00-CV-2012-T-24-EAD, 2003 WL 21659097, at *

  8 (M.D. Fla. May 16, 2003) (intervening attorney was awarded $77,165.00 for work performed

  in a non-complex case by lead counsel even after reducing lead counsel’s hourly rate, the number

  of hours billed, and adjusting the lodestar.). Should Plaintiff prevail at trial, it is likely that her

  attorney’s fees alone would exceed $75,000.

         Whatever the individual amounts, it is clear that Plaintiff’s lost wages to-date alone are

  over $75,000. This amount plus additional amounts for back pay through trial, front pay,

  punitive damages, compensatory damages, and attorney’s fees and costs, when all combined,

  clearly push the amount in controversy well beyond the $75,000 requirement. For these reasons,

  it is more likely than not that the amount in controversy threshold is satisfied.

  IV.    Venue

         The Southern District of Florida is the judicial district embracing the place where the

  state court case was brought and is pending (see 28 U.S.C. § 89(c)), thus, it is the proper district

  court to which this case should be removed. See 28 U.S.C. § 1441(a) & 1446 (a).

  V.     Timeliness of Notice of Removal

         The Amended Complaint was served on Camden Development, Inc. on June 6, 2021.

  Accordingly, pursuant to 28 U.S.C. § 1446(b)(3), this Notice of Removal has been filed within

  thirty (30) days of Defendant’s receipt of a “paper” from which it was first ascertained that this

  case has become removable.



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  VI.    Consent of All Defendants

         Camden Development, Inc. is the only Defendant in this action, and it consents to the

  removal of this action.

  VII.   Conclusion

         In accordance with 28 U.S.C. § 1446(d), copies of this Notice of Removal will be

  promptly served upon counsel for all adverse parties and filed with the Clerk of the Circuit Court

  for the Seventeenth Judicial Circuit, in and for Broward County, Florida. A copy of Defendant’s

  notice of filing to the state court is attached hereto as Exhibit D.

         WHEREFORE, Defendant Camden Development, Inc. respectfully requests that this

  Court take jurisdiction of this action and issue all necessary orders and process to remove it from

  the Circuit Court for the Seventeenth Judicial Circuit, in and for Broward County, Florida to the

  United States District Court for the Southern District of Florida.

  Dated: June 16, 2021.



                                                 Respectfully submitted,

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                                                 Counsel for Defendant Camden Development, Inc.




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 16, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.


                                                  Gregory R. Hawran
                                                  Gregory R. Hawran




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                                      SERVICE LIST

               FANNY TATIANA VERA v. CAMDEN DEVELOPMENT, INC.
               United States District Court for the Southern District of Florida
                              Case No. ___________________


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